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VERMONT SUPREME COURT

CERTIFICATE OF ADMISSION AND GOOD STANDING

This is to CERTIFY that James M. Diaz, #5014 was duly licensed and
admitted to practice as an Attorney and Counselor at Law in all the courts of

the State by the Vermont Supreme Court on the 30th day of January 2013.

This is to FURTHER CERTIFY that the said James M. Diaz, Esq. is on

active status and is in good standing according to the records of this Court.

Dated at Montpelier, Vermont, this 10th day of November 2022.

daily WN (AAR

Emily Wetherell
Deputy Clerk

